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EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA -
Richmond Division

K.B., BY HER MOTHER, SAKIA HALL AS
NEXT FRIEND AND SAKITA HALL,

Plaintiff,
Vv. Case No. 3:11-cv-00065-JRS
HAROLD FORD,

Defendant.

AFFIDAVIT OF HAROLD FORD

Harold Ford, being duly sworn according to law, deposes and says:

1, At all times relevant to this lawsuit, I was, and still am, a police officer employed
by the City of Richmond, Virginia.

2. On March 23, 2010, I was on duty, in full uniform, and present at Fairfield Court
Elementary School when the following occurred:

3, I was asked by an Assistant Principal, Ellena Ebanks, to accompany her to speak
. with a class that was being very disorderly.

4, As Ms. Ebanks and I reached the classroom, I noticed that the class was loud, and
children were out of their seats.

5. As Ms Ebanks addressed the class, one student (who I later learned was K.B.)
continued to be disruptive.

6. K.B. additionally made smart aleck remarks, and I asked her if she wanted to say
something; she said no but continued with such remarks.

7. I asked K.B. to step outside the classroom, and she did.

8. Once outside the classroom, K.B. began to yell and be disorderly.
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9, There were a large number of children in the hallway, and to avoid disrupting
them I asked K.B. to move five feet way to a short hallway away from the students.

10. K.B. continued to be loud; my belief was that she was acting out because of the
presence of other students, and so thought it best to get away from the crowd. Because the
crowd was dense and I did not want to walk her through the crowd, I went to a nearby side door
at the front of the building, with a view to getting K.B. away from the crowd so she might calm
down.

11. As we stepped outside, [ kept my foot in the door so it would not close, but K.B.
tried to run away from the school.

12. I grabbed K.B.’s arm to prevent this, and K.B. began to fight me.

13. At this time, K.B. struck me in the arms and hands a number of times; at one point
she tried to bite me.

14. I told K.B. to relax, but she refused; I told her a number of times I would have to
put her in handcuffs if she did not settle down, but she continued to fight.

15. At that time, I placed K.B. in handcuffs to keep her from hitting me, hurting
herself, or running away.

16.  K.B. continued to fight.

17. During the struggle I had to let the door go, which locked behind us.

18. [took K.B. to my police vehicle which was parked by the front door, and put her
inside, and tured on the air conditioning.

19. | When she did not relax, I decided to a call C.R.1.S.LS., but while I was doing so,
KB. did calm down.

20. KB. asked if 1 would take off the handcuffs and I said yes, if she remained calm.
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21. I took off the handcuffs, and K.B. told me that she had not taken her medicine that
morning, and asked if she could speak to her counselor, Ms. Jefferson. Since I knew Ms.
Jefferson worked for the Richmond Behavioral Health Authority, I decided there was not a need
to cali C.R.LS.LS. I located Ms. Jefferson, and explained the incident to her.

22. I also told the assistant principal, Ms. Ebanks, and the principal, Mr. Mayo, what
had occurred. I advised them that if the child had been older, I would have arrested her for
disorderly conduct and felony assault on a police officer. I learned from the staff that K.B. had a

history of running and disorderly behavior such as occurred on this day, and that they had been

working with her for some years.

23. The entire incident was very brief, and the handcuffs were on for a very short
period of time. ewe}
AN Gee
HAROLD FORD

COMMONWEALTH OF VIRGINIA
CITY OF RICHMOND, to-wit:

HAROLD FORD, whose name is signed to the foregoing Affidavit, subscribed his name
before me, MARY CRAIG BRYANT, a Notary Public in and for the jurisdiction aforesaid, and
acknowledged that the foregoing Affidavit is true and correct to the best of his information,

knowledge and belief.

Given under my hand this ? day of, Wa Nn? , 2011.

My commission expires|0/3 0
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